Case 2:04-cr-20330-SH|\/| Document 96 Filed 07/20/05 Page 1 of 2 Page|D 118

 

IN THE UNITED sTATEs DISTRICT cOURT mm BY ... n_c_
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsIoN 05 JUL 20 PH ¢,,. 33
UNITED sTATEs oF AMERICA, CLESKUS B§m()®}lfwm
wm 0:~‘ salinas
vs. No. 04~20330»MaP

SHIRLEY FOR_D,

Defendant.

 

ORDER GRANTING MOTION TO WITHDRAW AND
REFERRING MATTER TO MAGISTRATE JUDGE FOR APPOINTMENT OF COUNSEL

 

Before the court is the July 15, 2005, motion to withdraw
filed by appointed counsel for the defendant, Shirley Ford. For
good cause shown, the motion is granted and Howard B. Manis is
allowed to Withdraw from representing the defendant in this
matter. The matter is referred to the magistrate judge for
appointment of counsel for the defendant Shirley Ford pursuant to
the Criminal Justice Act.

It is so ORDERED this Zey{`day of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Honcrable Samuel Mays
US DISTRICT COURT

